             Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 1 of 30 Page ID #:1



         1 TUCKER ELLIS LLP
           Carmen A. Trutanich - SBN 86629
         2 carmen. trutanich@tuckerellis.com
           William H. Dance - SBN 230041
         3 william.dance@tuckerellis.com
           515 South Flower Street
         4 Forty-Second Floor
           Los Angeles, CA 90071
         5 Telephone:      213.430.3400
           Facsimile:      213.430.3409
         6
           Attorneys for Plaintiff PEPE'S, INC.,
         7 a California corporation dba Pepe's Towing
         8
·g"'     9                             UNITED STATES DISTRICT COURT
....l
t5                                   CENTRAL DISTRICT OF CALIFORNIA
•8 10
 "'                                             EASTERN DIVISION
-~ 11
i:i..
 §
~       12 PEPE'S, INC., a California corporation          Case No.
           dba Pepe's Towing
                                                           COMPLAINT FOR CIVIL RIGHTS
                                 Plaintiff,                VIOLATIONS AND CONSPIRACY TO
                                                           DENY CIVIL RIGHTS
                     V.

             CITY OF SAN BERNARDINO,                       DEMAND FOR JURY TRIAL
             charter city organized under the
             laws of the State of California;
             VIRGINIA MARQUEZ, an individual,
             BENITO J. BARRlO, an individual,
             JOHN VALDIVIA, an individual,
             FRED SHORETT, an individual,
             BESSINE L. RICHARD, an individual
             JAMES L. MULVIHILL, an individual,
             R. CAREY DAVIS, an individual,
             JARROD BURGUAN, an individual,
        21   PAUL WILLIAMS, an individual,
             GARY D. SAENZ, a:n individual
        22   JOLENA GRIDER, an individuai,
             ANDREA MILLER, an individual, also
        23   known as ANDREA TRAVIS MILLER,
             MARI( SCOTT, an individual, and
        24   DOES 1-10
        25                       Defendants.
        26
        27           Plaintiff, PEPE'S, INC., a California corporation dba Pepe's Towing Service.
        28 ("Pepe's"), by and through its undersigned counsel, sues Defendant the City of San

                                                     COMPLAINT
             1388656.2
          Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 2 of 30 Page ID #:2



      1 Bernardino ("City") and, in their official and individual capacities, Individual Defendants
      2 Virginia Marquez, Benito J. Barrio, John Valdivia, Fred Shorett, Bessine L. Richard, and
      3 James L. Mulvihill ("City Council Defendants"), Jarrod Burguan and Paul Williams
      4 ("Police Department Defendants"), Gary D. Saenz and Jolena Grider ("City Attorney's
      5 Office Defendants"), and Andrea Miller, also known as Andrea Travis Miller and Mark
      6 Scott ("City Manager Defendants"), and states as follows:
      7                                   JURISDICTION AND VENUE
      8           1.       This action arises under the Fifth and Fourteenth Amendments of the United
"'
·g>-4 9 States Constitution; Article 1, sections 2 and 7 of the California Constitution; and federal
          statutes, including 42 U.S.C. §§ 1983, 1985, 1986; the Racketeer Influenced and Corrupt
          Organizations Act, 18 U.S.C. § 1965, and 28 U.S.C. § 1331. Venue is proper in the
          Central District because all the events and omissions giving rise to the claim occurred in
          this District.
                                             IDENTITY OF PARTIES
                  2.       Plaintiff Pepe's, Inc. is a corporation organized and existing under the laws
          of the State of California, with its principal place of business in the State of California.
          Pepe's, Inc. does business as Pepe's Towing Service.
                  3.       Defendant City of San Bernardino ("City") is, and at all relevant times was,
          a municipal corporation, a charter city in San Bernardino County, California, organized
          under and existing by virtue of the laws of the State of California. The City is governed
     21 by a City Council with seven members and a Mayor. The City Council is referred to as
     22 the City Council in the operative charter, but as the Common Council in many municipal
     23 ordinances. It will be referred to as "City Council" throughout this Complaint. The City
     24 Council members and Mayor are City employees who are individual Defendants.
     25           4.       Defendant Virginia Marquez is a current City Council member and, on
     26 information and belief, is a citizen of California. She has been a City Council member
     27 since March 1, 2010.
     28
                                                           2
                                                      COMPLAINT
          1388656.2
                      Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 3 of 30 Page ID #:3



                  1           5.    Defendant Benito J. Barrio is a current City Council member and, on
                  2 information and belief, is a citizen of California. On information and belief, he has been
                  3 a City Council member since March 3, 2014.
                  4           6.    Defendant John Valdivia is a current City Council member and, on
                  5 information and belief, is a citizen of California. He was formerly the Mayor Pro
                  6 Tempore. On information and belief, he was elected to the City Council in November
                  7 2011.
                  8           7.    Defendant Fred Shorett is a current City Council member and, on
        .;!l
         g
        ....:i
                  9 information and belief, is a citizen of California. On information and belief, he was
        ct5
        b 1O elected to the City Council in March, 2009.
         ~

        ·i
        µ..
                 11           8.    Defendant Bessine L. Richard is a current City Council member and, on
         §
        ~        12 information and belief, is a citizen of California. On information and belief, she was
~        "'<U
       io 13 elected to the City Council in February 2016.
-
>--4
[/J     ~
,-.:i "'0
,-.:i ....:i     14           9.    Defendant James L. Mulvihill is a current City Council member and, on
~~
~ J15                 information and belief, is a citizen of California. On information and belief, he was
gai 16 .2
                      elected to the City Council on November 5, 2013.
       u
         0
                 17           10.   Defendants Marquez, Barrio, Valdivia, Shorett, Richard, and Mulvihill were
        +
       ""'
        §
        d)       18 all Councilmembers on April 8, 2016 when the Council approved Resolution No. 2016-
         ~
       0
        +
         0
                 19 73. As City Council members, they were the officials responsible for legislating and
         wi
        :.a
        u        20 setting the policies of the City of San Bernardino. The Councilmember Defendants
                 21 named above at all relevant times authorized, and/or ratified the actions of the other City
                 22 employees, agents, and officials as alleged herein.
                 23           11.   Defendant R. Carey Davis is the currently Mayor of the City and, on
                 24 information and belief, is a citizen of California. He has been Mayor since 2014. As the
                 25 Mayor of the City of San Bernardino, Mayor Davis was the official responsible for
                 26 setting and enforcing the policies, customs, and practices of the executive departments of
                 27 the City in enforcing the laws and carrying out the directions of the City Council. Mayor
                 28
                                                                   3
                                                              COMPLAINT
                      1388656.2
                       Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 4 of 30 Page ID #:4



                   1 Davis at all relevant times directed, supervised, authorized, and/or ratified the act1ons of
                   2 the City's executive employees, agents, and officials as alleged herein.
                   3           12.   Defendant Jarrod Burguan is currently the Police Chief of the City and, on
                   4 information and belief, is a citizen of California. On information and belief, he became
                   5 Police Chief in December 2013. As the Chief of the City of San Bernardino Police
                   6 Department, ChiefBurguan was the official responsible for setting and enforcing the
                   7 policies, customs, and practices of the Police Department in enforcing the laws and
                   8 carrying out the directions of the City Manager and City Council. Chief Burguan at all
         ·s"'0
         ....:i
                   9 relevant times directed, supervised, authorized, and/or ratified the actions of the Police
         vl
         +
          0
          (.)
                  10 Department's employees, agents, and officials as alleged herein.
          "'
         ·c:,
          §
          h
         p;..
                  11           13.   Defendant Paul Williams is a Captain in the City's Police Department and,
          §
         C/1
         +        12 on information and belief, is a citizen of California. At all relevant times Captain
         ]
~
~         1i'n    13 Williams was an employee, agent, and official of the City of San Bernardino Police
[/)      ~
......
~
          "'
          0
~ ....:i
µ:i ~
                  14 Department and therefore of the City of San Bernardino.
~~
~ ~:;             15           14.   Defendant Gary D. Saenz is City Attorney in the City and, on information
u•
g~                16 and belief, is a citizen of California. On information and belief, he was elected to the
         1
         0
         u
         +
                  17 City Attorney position on November 5, 2013. At all relevant times Gary Saenz was the
         "O
         §
         .;       18 City Attorney for the City of San Bernardino. As the City Attorney, Gary Saenz was the
          &'j
         0
         +
          0
                  19 official responsible for setting and enforcing the policies, customs, and practices of the
          ~
         :.a
         u        20 City Attorney's Office in enforcing the laws and carrying out the directions of the City
                  21 Manager and City Council. Gary Saenz at all relevant times directed, supervised,
                  22 authorized, and/or ratified the actions of the City Attorney's Office's employees, agents,
                  23 and officials as alleged herein.
                  24           15.   Defendant Jolena Grider is Chief Deputy City Attorney in the City and, on
                  25 information and belief, is a citizen of California. At all relevant times Chief Assistant
                  26 City Attorney Grider was an employee, agent, and official of the City of San Bernardino
                  27 City Attorney's Office and therefore of the City of San Bernardino.
                  28
                                                                    4
                                                               COMPLAINT
                       1388656.2
                                                                   -   ------------   ---------------------
                       Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 5 of 30 Page ID #:5



                   1           16.   Defendant Andrea Miller, also known as Andrea Travis Miller, is City
                   2 Manager in the City and, on information and belief, is a citizen of California. On
                   3 information and belief, she became City Manager in August, 2017. As the City Manager,
                   4 Andrea Miller was the official responsible for setting and enforcing the policies, customs,
                   5 and practices of the City Manager's Office in running the City and carrying out the
                   6 directions of the City Council. From August, 201 7 to the present, Andrea Miller directed,
                   7 supervised, authorized, and/or ratified the actions of the City Manager's employees,
                   8 agents, and officials and other City employees,. agents, and officials, as alleged herein.
         ·30                   17.   Defendant Mark Scott is the former City Manager in the City and, on
         ....:i
                   9
         ci5
         • 10 information and belief, is a citizen of California. On information and belief, he became
          0
          0

         ·u"'
          §...
         µ...
                  11 ·City Manager in February, 2016. As the City Manager, Mark Scott was the official
          §
         •"' 12 responsible for setting and enforcing the policies, customs, and practices of the City
         Cl)




~ 1'~n
          <V

                  13 Manager's Office in running the City and carrying outthe directions of the City Council.
-
lfl
.....:l "'0
.....:l ....:i
~~
                  14 From February, 2016 to August, 2017, Mark Scott directed, supervised, authorized,
~~
                  15 and/or ratified the actions of the City Manager's employees, agents, and officials, and
~~
u•
gJ 16    0
                       officials and other City employees, agents, and officials, as alleged herein.
         u        17           18.   Doe Defendants 1-10 are sued under fictitious names, as Plaintiff is ignorant
         •
         ,:i

        .,§
          >
                  18 of the true names of the Doe Defendants. Once the identity of these parties has been
          <V
        D
         • 19 established, Plaintiff will substitute the Doe Defendants' true names. All the Doe
          0
          ~

        u 20 Defendants are past or present employees of the City. Plaintiff believes it will be able to
        :.a

                  21 identify the Doe Defendants through discovery of City documents and through
                  22 depositions revealing the involvement of specific Police Department, City Attorney's
                  23 Office, and City Manager's Office City employees who were actors involved in the
                  24 misconduct alleged in this Complaint.
                  25                                 FACTUAL BACKGROUND
                  26           19.   ~laintiff Pepe's, Inc. dba Pepe's Towing Service ("Pepe's") at all times
                  2 7 relevant to the Complaint, was, and is, a towing business. Pepe's has been in business for
                  28 over 30 years, operating over 75 heavy, medium, and light duty trucks. Pepe's location
                                                                        5
                                                                COMPLAINT
                       1388656.2
                                                          ----------------   ---------------------
                           Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 6 of 30 Page ID #:6



                       1 in the City of San Bernardino is 1303 East Victoria Avenue. This location was opened in
                       2 2000. The San Bernardino location has a large indoor storage facility in addition to a
                       3 fully paved outside yard with a storage capacity of over 300 vehicles, all fully secured
                       4 with a continuously operating security system and bright security lighting. Pepe's also
                       5 operates ten other locations around Southern California.
                       6           20.   Manuel Acosta is part-owner and president of Pepe's. His parents, Jose and
                       7 Delfina Acosta, established Pepe's in 1978. Manuel joined the business in 1987.
                       8           21.   Pepe's tow trucks include super heavy-duty trucks that can tow 18-wheeler
             ·S0
             .....i
                       9 tractor-trailer rigs as well as trucks that can recover vehicles in a variety of challenging
             <i5
             • 10 situations, and an extensive range of medium and light-duty tow trucks.
              0
              (.)
             .;!l
              (.)

              §
              I-<
             µ.,
                      11           22.   As soon as Pepe's started operating its yard at 1303 East Victoria Avenue in
              §
             • 12 the City of San Bernardino in 2000, Manuel Acosta immediately inquired with the City
             r/1


             ]
 ::5....:i    ~       13 regarding the possibility of contracting with the City and joining the towing rotation. At
 -
 VJ
.....:i "'0
             ~
.....:i .....i
µ.:i ~
                      14 that time, as at the present time, Pepe's was a rotation tow contractor for many cities in
 ~~
 ~ ~c;                15 San Bernardino, Riverside, and Los Angeles Counties, as well as with the County of San
gu.;g 16                   Bernardino and the California Highway Patrol.
  1          0
             u        17           23.   When it had a special need, the City contacted Pepe's and asked it to handle
              •
             "Cl
              §
             v        18 complex and heavy-duty tows and operations that the rotation tow contractors were not
             ii
             0
              • 19 able to handle because they lacked the heavy-duty equipment and expertise, but never
              0
              ~
             :au 20 included Pepe's on the tow rotation.
                      21           24.   At all relevant times, the City Council has been the legislative body that
                      22 governs the City.
                      23           25.   At least since 1995, the City has contracted with 5 to 6 private tow
                      24 companies to provide vehicle towing and storage services in connection with vehicle
                      25 tows ordered by the City, through the Police Department as well as through code
                      26 enforcement. The City divides its calls evenly among the contracted towers in a practice
                      27 commonly referred to as the "tow rotation." In this Complaint, the companies
                      28 contracting with the City at any given time to be part of the rotation are referred to as
                                                                              6
                                                                         COMPLAINT
                           1388656.2
                     Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 7 of 30 Page ID #:7



                 1 "rotation tow contractors" unless quoting a document referring to them in other ways, e.g.
                 2 "tow carriers."
                 3           26.   The City rotation tow contracts are governed by resolutions adopted by the
                 4 City Council setting forth the number of private tow companies that will be granted
                 5 contracts, the requirements that will be imposed by the contracts, the procedure for award
                 6 of contracts, and other terms and conditions.
                 7           27.   The City Council is authorized by the current City Charter, which was voted
                 8 into law in 2016, to contract services such as towing. The City Council was also
          .~
          3      9 authorized under the previous City Charter to contract services such as towing.
          t;
          b 10               28.   The contents of the resolutions and contracts through which the City Council
          ~

          J11        contracts with the rotation tow contractors have changed over the years, though several
          g
          ~     12 key provisions have remained the same.
~.,
P-< rl
~         bO    13           Resolution No. 2005-286
VJ.~
>---< u,
.....:i   0

~ ~ 14     29. On August 15, 2005 the San Bernardino City Council adopted Resolution
          J
~ 15 No. 2005-286 purporting to define and govern the relationships between the City and the
~ ; 16 rotation tow contractors. Resolution No. 2005-286 repealed its predecessor. Resolution
~1
          8 17 No. 2005-286 has been amended but not repealed. Resolution No. 2005-286, with its
          •
          "O

          ~ 18 Exhibit A, is filed concurrently with the Complaint as Exhibit 1.
          i;;

          ~ 19               30.   None of the resolutions prior to Resolution No. 2005-286, nor the contracts
          ~
          a20        based on them, have any relevance to the claims in this Complaint, except that each
                21 required the rotation tow contractors to maintain outside storage space for at least 200
                22 vehicles, to provide a certain amount of inside storage, and to provide a secure
                23 environment to protect the towed vehicles and their contents.
                24           31.   Under Resolution No. 2005-286, the City contracted with six tow
                25 companies -Tri-City Towing, Danny's Towing, City Towing, Wilson Towing, Big Z
                26 Autoworks, and Hayes Towing.
                27           32.   Resolution No. 2005-286's paragraph L required all rotation tow contractors
                28 to "[c ]omply with all rules, regulations and laws of the state, county, and City."
                                                                   7
                                                              COMPLAINT
                     1388656.2
                     Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 8 of 30 Page ID #:8



                 1           33.    Resolution No. 2005-286 provided at page 6 that "[n]o towing carrier is
                 2 exempt from meeting legal requirements imposed by any city, county, State or Federal
                 3 laws or regulations. An example of this is the Clean Water Act."
                 4           34.    Resolution No. 2005-286 required each rotation tow contractor to maintain a
                 5 yard large enough to store 200 vehicles, with inside storage for a minimum of 12 spaces.
                 6           35.    Resolution No. 2005-286 required that outside yards be adequately lighted.
                 7           36.    Resolution 2005-286 required the rotation tow contractors to "store towed
                 8 vehicles in a safe and protected space where the vehicles and their contents will not be
        ·S0
        ..-1     9 accessible to thieves nor be damaged by activity in the carrier establishment or from the
        t5
        •u 10 elements or by vandals; no vehicles shall be left parked or stored on the public streets at
         0
         "'
        ·;:;
         §
         ....
        .....   11 anytime."
         §
        • 12
        f/1
                             37.    The provisions of Resolution No. 2005-286 discussed in the preceding 5
:j
...:l   in~     13 paragraphs have remained in force to the present day by virtue of their incorporation into
-
r./).

~
~ ..-1
~b
         "'0
                14 subsequent Resolutions and contracts.
~       £l
                15           38.    Resolution No. 2005-286 specified requirements for existing rotation tow
~~
u.
g ~ 16               contractors. Resolution No. 2005-286 also specified a somewhat different set of
  10
        u       17 requirements, set forth in "Exhibit 'A'," that applied to"[ e]very towing carrier that
        •
        'O
         §
        OJ
         :>
                18 becomes part of the City tow rotation after the adoption of this Resolution" as well as "to·
        ..!a
        u
        • 19 towing carriers under new ownership that apply to join the City rotation after a change of
         0
         ~
        :2u 20 ownership occurs at that towing carrier."
                21           3 9.   A key difference between the requirements for the existing rotation tow
                22 contractors and new tow contractors under Resolution No. 2005-286 was the minimum
                23 size of the outside storage yard required of the contractor. For existing rotation tow
                24 contractors, Resolution No. 2005-286 required storage space sufficient for 200 vehicles
                25 but did not set forth a specific square footage requirement. New rotation tow contractors,
                26 on the other hand, were required to have sufficient storage space for 200 vehicles and a
                27 minimum outside storage yard 65,000 square feet in size.
                28
                                                                   8
                                                              COMPLAINT
                     1388656.2
                    Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 9 of 30 Page ID #:9



                1           40.   Resolution No. 2005-286 granted the six existing rotation tow contractors a
                2 "grandfather" exception to the tow contractor requirements stated in Exhibit A.
                3           41.   Under Resolution No. 2005-286, all contracts were terminable by the City or
                4 the rotation tow contractor on 30 days' written notice.
                5           42.   Resolution No. 2005-286 provided that sale or transfer of a controlling
                6 interest in a rotation tow contractor immediately terminated the Agreement for Tow
                7 Services for that contractor, creating an open position in the tow rotation. The open
                8 position on the tow rotation would be opened for application by the new entity created
       ·8
        0       9 from the sale or transfer of controlling interest in the existing rotation tow contractor if
       ...:i
       t5
       • 10 the new entity wished to apply, but would also be open for application by other qualified
        0
       .~
        (.)

        (.)

        §
        ....
       !:I.;
               11 earners .
        §

       •"' 12
       <Zl
                            43.   Resolution No. 2005-286 provided that if the purchaser of an existing
/1.,    <!)

:j 'R 13 rotation tow contractor were awarded the open tow position on the rotation, the purchaser
-
r:/J
~
~ ...:i
~~
       ~
        "'
        0
               14 would have to comply with the requirements for new rotation tow contractors, including
~~
               15 the requirement for a 65,000 square foot outside storage yard. If the position were
~~
u•
gl             16 instead awarded to a new tower, that new rotation tow contractor would also have to have
        ::,
       0
       u       17 to meet the 65,000 square foot outside storage yard requirement.
       •
       "c:I
        §
       a3      18           44.   The City amended Resolution No. 2005-286 in 2008 with Resolution
        >
        <!)

       u
       • 19 No. 2008-347, in 2010 with Resolution No. 2010-28, and in 2011 with Resolution
        0
        ~

       u 20 No. 2011-34. Each of these resolutions modified the franchise fee that the existing
       :.a

               21 rotation tow contractors were required to pay to the City but did not modify other
               22 provisions of Resolution No. 2005-286, which remained in force as amended.
               23           Resolution Nos. 2011-80 & 2011-91
               24           45.   On April 5, 2011 the San Bernardino City Council adopted Resolution
               25 No. 2011-80 which purported to authorize the City Manager to execute new "Agreement
               26 for Tow Services" contracts with the six existing rotation tow contractors. Resolution
               27 No. 2011-80, with its Exhibit A, is filed concurrently with this Complaint as Exhibit 2.
               28
                                                                 9
                                                             COMPLAINT
                    1388656.2
                     Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 10 of 30 Page ID #:10



                 1           46.   The new "Agreement for Tow Services" contracts, which were executed by
                 2 the City and each of the existing rotation tow contractors soon after Resolution No.
                 3 2011-80 was passed by the City Council, contained significant changes from the prior
                 4 contracts.
                 5           47.   First, the provision that automatically terminated an Agreement for Tow
                 6 Services upon sale of or transfer of a controlling interest in an existing rotation tow
                 7 contractor was removed.
                 8           48.   Second, the provision that required the purchaser of an existing rotation tow
         .:!/

         3       9 contractor or controlling interest in that entity to compete with new applicants for a
         ~
         • 1O position on the rotation was deleted.
          8
          "'
         ] 11                49.   Third, the provision that required the purchaser of an existing rotation tow
          §
         ~      12 contractor or controlling interest in that entity to have a 65,000 square foot outside
 i:i... "'
 ...:l ~
 ...:l bn       13 storage yard was deleted.
r:/'1    ~
......   "'
~ ~ 14                       50.   These provisions were replaced with language that permitted assignment of
~ <=
~        J15         an existing tow contract upon sale of the tow contractor company and upon approval of
8 ; 16               the City Council. The change conferred an economic benefit on the existing rotation tow
  1
t""'
         8 17 contractors because they could now sell their businesses with a stronger likelihood that
         •
         'O

         ~ 18 the purchaser could step into their shoes and assume the existing rotation tow contract
         ~
         'i 19 with the City of San Bernardino without being required to have a 65,000 square foot
          ~
         a20         outside storage yard and without necessarily competing with new candidates to join the
                21 rotation.
                22           51.   In addition, Resolution No. 2011-80 replaced the 30 day termination
                23 provision in Resolution No. 2005-286 with a five-year term.
                24           52.   The new rotation tow contracts incorporated Exhibit A which carried
                25 forward from Resolution No. 2005-286 the scheme whereby new rotation tow contractors
                26 had to meet different, more stringent requirements than the 6 existing rotation tow
                27 contractors had to meet. Exhibit A, which did not apply to existing rotation tow
                28
                                                                  10
                                                              COMPLAINT
                     1388656.2
                                                                         -----------------------
                      Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 11 of 30 Page ID #:11



                  1 contractors, required minimum outside storage space of 65,000 square feet, with room for
                  2 at least 200 vehicles, among other requirements.
                  3           53.   Each of the existing tow carriers executed a contract based on Resolution
                  4 No. 2011-80, effective as of April 4, 2011.
                  5           54.   On April 19, 2011 the City Council approved Resolution No. 2011-91 which
                  6 further amended Resolution No. 2005-286. Resolution No. 2011-91 is filed concurrently
                  7 with this Complaint as Exhibit 3.
                  8           55.   Resolution No. 2011-91 deleted the grandfathering provision of Resolution
         ·s"'0
         .-a      9 No. 2005-286 stated on page 7 of the latter document. That provision actually required
         ....
         r/1

         • 10 the purchaser of an existing rotation tow contractor to meet the more stringent
          0
          ~
         ·u
          §
          ....
         er..
                 11 requirements stated in Exhibit A, so its deletion actually clarified that the buyer of an
          §
         • 12 existing rotation tow contractor or controlling interest in one would not be required to
         r/1



~
....:i
[/J
         In~     13 demonstrate that it had an outside storage yard of at least 65,000 square feet.
,-<       "'
~         0
~        .-a     14           56.   Resolution No. 2011-91 also required provisions for inside vehicle storage,
~~
~~
   15                 which was already required in prior resolutions, as well as secure inside evidence storage,
~£
u.
g; 16                 which was new. It also required rotation tow contractors to photograph vehicles and their
 1       0
         u       17 contents prior to taking possession and upon release to document the condition of the
         •
         'rj
          §
         v       18 vehicle and its contents, another new provision.
          !,
         0
         • 19
          0
                              Tow Contracts Expired in 2016 But Were Extended to 2021.
          ~
         :au 20               57.   Upon the expiration of the five-year term of the 2011 contracts, the City
                 21 Manager recommended that the City Council extend the existing contracts for no more
                 22 than one year on a month-to-month basis to provide basic fairness to all tow contractors
                 23 in the process, to give the City an opportunity to provide notice of a planned bidding
                 24 process for towing vendors, and to explore the cost/benefit of the City operating its own
                 25 tow yard. On information and belief, then-City Manager Mark Scott made this
                 26 recommendation to the City Council Ways and Means Committee on March 9, 2016. On
                 27 information and belief, then-Deputy City Manager, Andrea Travis, now City Manager,
                 28 concurred.
                                                                   11
                                                               COMPLAINT
                      1388656.2
                      Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 12 of 30 Page ID #:12



                  1            58.   But instead of opening up the competition to new towers based on fairness,
                  2 merit, and qualifications, on April 4, 2016, upon the expiration of the five-year term of
                  3 the 2011 contracts, the City Council passed Resolution No. 2016-73, which extended the
                  4 existing six rotation tow contractors' contracts for another five years without competitive
                  5 bidding or any other opportunity for the consideration of any towing contractors other
                  6 than the existing set of six. By this point, the rotation tow contractors' contracts had been
                  7 renewed in 2005, 2011, and now 2016, without opening the rotation to any other tow
                  8 companies. By this point, Pepe's had sought the opportunity to compete for a position in
        ·a"'0
        .....i
                  9 the towing rotation in 1995, 2005, 2011, and 2016, without success and without being
         ...,
        Cl)

         • 10 provided any explanation as to why the City decided to continue to contract only with the
         0
         ~
        ·u
         §
         ""
        µ..
                 11 group of six rotation tow contractors with whom it had previously contracted. Resolution
         §
         •"' 12 No. 2016-73 was filed concurrently with the Complaint as Exhibit 4.
        Cl)




:j        <l)



        ii 13                  Pepe's Presented Evidence of Noncompliance by Existing Towers
-
~
VJ      ~
i-,.:i "'0
i-,.:i .....i    14            59.   Pepe's requested a complete set of all avail ab le records of inspections
~~
~~
                 15 conducted by City to determine the extent to which the rotation tow contractors were
~~
u•
g; 16                 complying with the terms of their contracts. Documents obtained by Pepe's from the
        ]
        u
         0
                 17 City of San Bernardino revealed that the City of San Bernardino Police Department had
         •
        "O
         §
        a)
         [;;
                 18 not preserved, or at least had not produced, a complete set of inspection and assessment
        0
         • 19 records. Taken together, the inspection documents produced by the City for the period
         0
          wi
        :au 20 2011-2016 suggest that the City's inspections of the six rotation tow contractors for
                 21 compliance with contract requirements were haphazard, incomplete, and careless.
                 22            60.   On February 24, 201 7, Pepe's presented a report in the form of a letter to a
                 23 number of officials in the City of San Bernardino government (the Legislative Review
                 24 Committee, Mayor Pro Tempore John Valdivia, and City Manager Mark Scott) in which
                 25 it alleged that none of the six then-current rotation tow contractors were in full
                 26 compliance with the terms of their contracts.
                 27            61.   Pepe's brought to the City's attention the fact that all six rotation tow
                 28 contractors -Big Z Autoworks, City Towing, Danny's Towing, Hayes Towing, Wilson
                                                                     12
                                                                 COMPLAINT
                       1388656.2
                        Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 13 of 30 Page ID #:13



                    1 Towing, and Tri-City Towing- stored towed vehicles on unpaved and permeable
                    2 surfaces. Discharges from standing vehicles onto unpaved surfaces violate City of San
                    3 Bernardino Municipal Code §§ 13.32.305 (M) and 13.32.305 (X). Parking vehicles on an
                    4 unpaved surface violates City of San Bernardino Municipal Code§§ 10.16.240 and
                    5 10.16.250. This conduct also violated Paragraph 3(a) of the tow service agreements.
                    6 This was also a violation of Resolution No. 2005-286, as amended, on page 6, of the
                    7 provision stating "[n]o towing carrier is exempt from meeting legal requirements
                    8 imposed by any city, county, State or Federal laws or regulations. An example of this is
          -~:::,
           0
          ....:i    9 the Clean Water Act." The fact that these rotation tow contractors did not have
          ci5
          +
           0
           (.)
                   10 impermeable surfaces meant they were violating all these laws, regulations, and contract
          "'
          Tl

          ~
           §
           ....    11 provisions on a constant basis.
           §
          : 12                  62.   Pepe's pointed out to the City that because all the then-current rotation tow
           "'
~
          .1l
           1;'n    13 contractors except for Tri-City Towing could not legally park stored vehicles on unpaved
,:/)      ~
>---<
.....:i    "'
           0
.....:i   ....:i   14 surfaces, including gravel surfaces, only Tri-City Towing could legally comply with the
~~
~ J 15                  requirement that it be able to store 200 vehicles outdoors.

~i                 16           63.   At that time, five of the six rotation contract towers did not have outside
          1
          0
          u
           +
                   17 storage yards of at least 65,000 square feet. Only Tri-City Towing had an outdoor
          'cl
           §
          OJ
            ;;,.
                   18 storage yard size equaling or exceeding 65,000 square feet.
          .1l
          u
           +
            0
                   19           64.   Once Pepe's exercised its protected free speech rights by making these
            ~
          ]u 20 allegations to the City of San Bernardino, the individual defendant City employees
                   21 conspired to conceal the lack of compliance by the existing rotation tow contractors and
                   22 the lack of inspection and enforcement by the City of San Bernardino Police Department,
                   23 as well as to punish Pepe's and retaliate against it for bringing the noncompliance, non-
                   24 inspection, and non-enforcement to the attention of other City employees and into the
                   25 public eye. The ultimate goal of this conspiracy was to silence Pepe's and retaliate
                   26 against it for its free speech by ensuring it would not be fairly evaluated for a spot in the
                   27 towing rotation and by requiring it to meet conditions that lacked rational basis, denying
                   28 it equal protection.
                                                                      13
                                                                  COMPLAINT
                        1388656.2
                 Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 14 of 30 Page ID #:14



             1            65.   The Police Department individual defendants, embarrassed that the
             2 Department had been caught doing such a poor job of inspection and contract
             3 enforcement, redoubled their efforts to conceal the rotation tow contractors'
             4 noncompliance by continuing to report that the Department had properly inspected the
             5 tow facilities all along and that all contractors' facilities complied with their contracts.
             6            66.   On March 2, 2017 the San Bernardino Police Department supposedly again
             7 inspected all six rotation tow contractors.
             8            67.   The inspection forms used by the Police Department to document their
      "'
      ]      9 March 2, 201 7 inspections do not mention or reference paved impenetrable surfaces.
      ~
      • 1O They have no evaluations whether the tow contractors met the requirements stated in
      §
      -~µ., 11 Resolution No. 2011-91 of secure evidence storage, secure indoor storage of vehicles on
      §
      ~     12 request of the Police Department, or a capability to digitally photograph vehicles to
~"'
~~
~     l"    13 document their contents and conditions upon receipt and just prior to release .
......
~ 0
       "'
~ ~ 14      68. The omissions and inaccuracies of the 201 7 inspection forms confirm the
      0

~ ~ 15 haphazard, careless, incomplete nature of the Police Department's inspections, continuing

gi 16
~~
                 a practice the Police Department had engaged in at least since 2011 and the efforts of the
      8 17 Police Department employee defendants to conspire to deny Pepe's a position as a
      •
      l] 18      rotation tow contractor.
      ~     19            69.   On March 8, 2017 Police ChiefBurguan delivered a written report,
      ~
      a20        purportedly written by Police Captain Paul Williams, in which the Chief stated that all
            21 towers were in compliance with their contract terms, based on the results of the March 2,
            22 201 7 inspections. However, as noted, there were many omissions in the scope of the
            23 March 2, 2017 inspections, so it is not credible that ChiefBurguan's written report was
            24 based on actual inspections that evaluated the rotation tow contractors' facilities against
            25 the actual requirements stated in Resolution No. 2005-286 as amended. ChiefBurguan
            26 and Captain Williams' letter is a further action in the City's and the Police Department
            27 defendants' conspiracy to deny Pepe's a spot as a rotation tow contractor.
            28
                                                              14
                                                          COMPLAINT
                  1388656.2
                     Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 15 of 30 Page ID #:15



                 1            70.   On August 23, 2017 Pepe's wrote to the City of San Bernardino renewing its
                 2 contention that existing rotation tow contractors were not in full compliance with their
                 3 contract terms. The City of San Bernardino did not respond to the letter.
                 4            71.   On October 2, 2017 Pepe's sought a meeting with City officials to discuss
                 5 the existing rotation tow contractors' non-compliance with contract terms and its desire to
                 6 be added to the tow rotation.
                 7            72.   On October 19, 2017 Chief Assistant City Attorney Jolena Grider
                 8 responded. She told Pepe's the City Manager had determined that there were no
          "'
        ]        9 openings on the existing tow rotation but that the City intended to open up the tow
         +J
        fZl
         bu 1O rotation to all qualified carriers upon the expiration of the term of the existing tow
        ·u"'
          ~     11 contracts in 2021.
        ii.
          ~
        ~       12            73.   On October 20, 2017 Pepe's wrote Assistant City Attorney Grider. Pepe's
~        "'"'
        .;
~        bO     13 reiterated its position that the City of San Bernardino had not been enforcing the contract
VJ.     ~
'""" "'0
....:l
....:l ....:i   14 terms agreed to by existing carriers. Petitioner further stated that if the City had been
~~
~~
                15 enforcing the contract terms, there would be an opening on the tow rotation to which
~~
u•
g~              16 Pepe's could apply.
        ~                     74.   On November 10, 2017 Pepe's formally appealed to the City Council the
        u
         +
                17
        "O
          ~
        .;      18 City Manager's determination that no vacancy existed on the tow rotation due to breaches
          t
        0
         +
          0
                19 of the city's tow rotation agreement.
          ~
        :.su 20               75.   On November 13, 2017, Chief Assistant City Attorney Grider affirmed, in
                21 writing to Pepe's counsel James Penman, that "[a]ll of the tow carriers are currently in
                22 compliance and the Police Department has not found any violations that would warrant
                23 removal from the tow rotation list." Ms. Grider explained in the letter that the
                24 inspections she based her assessment on were the March 2, 2017 inspections of all six
                25 rotation tow contractors by the Police Department.
                26            76.   The City Manager's position, as related by Ms. Grider, was based on the
                27 knowingly false statements by Police Department defendants Captain Williams and Chief
                28 Burguan that the existing rotation tow contractors were all in compliance with their
                                                                  15
                                                              COMPLAINT
                      1388656.2
                  Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 16 of 30 Page ID #:16



              1 contracts. That the Police Department could make such statements at this point shows a
             · 2 deliberate unwillingness by Police Department defendants to properly inspect the
              3 contractors' yards and facilities. Ms. Grider was herself familiar not only with Pepe's
              4 allegations but of the factual support Pepe's provided for those allegations, so she too had
              5 to have been aware, based on presentations Pepe's had made to her, that the Police
              6 Department's statements were deliberately false. In stating that the City had no openings
              7 on the existing rotation, she ratified the Police Department's conduct and joined the
              8 conspiracy.
       -~     9            77.   On January 10, 2018, Pepe's representatives met with the City Manager, the
       ~

       tl
       •8 1O Police Chief and representatives of the City Attorney's office to present further
       ·;µ:. 11 irrefutable photographic evidence of noncompliance with contract requirements for
       §
       ~     12 security fencing, night lighting, pavement surfaces and yard size by existing towers.
p..    ;(l
...l
~      ln 13
       0)
                           78.   On February 8, 2018, Pepe's counsel asked Ms. Grider, via e-mail, "where
-      "'
~ ~ 14 and in which document the language grandfathering in the size of the yards is located."
~      J15                 79.   Ms. Grider responded that "Resolution 2005-286 contains language that
8i           16 grandfathers the existing carriers [sic] yard sizes. This agreement was continued by
~1
       8+ 17 Resolution 2011-80 and incorporated all of the terms of 2005-286. Resolution 2016-73
       } 18 extended the term and increased the fees, but made no other changes to the previous two
       !,
       ~ 19 resolutions."
       0
       ~
       :.su 20             City Opens Rotation to Add Seventh Tower; Pepe's Applies and is Rejected
             21            Because Its Outdoor Storage Yard is Less Than 65,000 Square Feet
             22            80.   On March 7, 2018 the San Bernardino City Council adopted Resolution
             23 No. 2018-65 authorizing addition of a new rotation tow contractor to the contract tow
             24 rotation. Resolution No. 2018-65 was filed concurrently with this Complaint as
             25 Exhibit 5.
             26            81.   Pepe's Towing applied for a contract as the seventh tower. Pepe's Towing
             27 obtained the Request for Proposal packet made available by the City of San Bernardino
             28 and completed the application. The Request for Proposal packet established a list of
                                                               16
                                                           COMPLAINT
                   1388656.2
                   Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 17 of 30 Page ID #:17



               1 criteria by which the City would evaluate the candidates for the seventh position on the
               2 tow rotation. The Request for Proposal process was a specific procedure by which the
               3 City minimized its discretion. The Request for Proposals was filed concurrently with this
               4 Complaint as Exhibit 6. The deadline for submissions to the City was March 21, 2018.
               5            82.   At that time, four of the six existing rotation tow contractors lacked outside
               6 storage yards of at least 65,000 square feet. Armada Towing, having bought Big Z
               7 Autoworks, now had at least 65,000 square feet, as did Tri-City Towing.
               8            83.   At that time, none of the six rotation contract towers had impermeable
       ·80
       >-<
               9 surfaces covering its exterior storage yards. As noted above, discharges from standing
       u5
       • 10 vehicles onto unpaved surfaces violate City of San Bernardino Municipal Code
        0
        u
        "'
       ·;:;
        ... 11 §§ 13.32.305 (M) and 13.32.305 (X). Parking vehicles on an unpaved surface violates
        §
       I"-<
        §
       •"' 12 City of San Bernardino Municipal Code§§ 10.16.240 and 10.16.250. This conduct also
       U'.l



::5    2
       f      13 violated Paragraph 3(a) of the tow service agreements. This was also a violation of
-
~
r:/)

....:I "'
        0
....:I>-<     14 Resolution No. 2005-286, as amended.
~~
~~
              15            84.   Other than Pepe's, there was one other applicant for the open position. It
~~
u•
~ :l          16 was rejected for reasons not publicly revealed.
E-<    1
       0
       u      17            85.   By means of a letter dated April 17, 2018, signed by City of San Bernardino
       •
       "Cl
        §
       0
        >
              18 Police Captain Paul Williams under the printed signatory name of Jarrod Burguan, Chief
        0
       0
       • 19 of Police, the City of San Bernardino informed Pepe's Towing that its application to be
        ~
       :.a
       u      20 added to the City's towing rotation list was rejected because its "Minimum outdoor
              21 storage is less than the required 65,000 feet."
              22            86.   Pepe's appealed its rejection as the seventh tower and the City's refusal to
              23 drop existing rotation towers that were in breach of their contracts to the City-Council.
              24            87.   A quasi-judicial appeal hearing was convened on July 18, 2018 before the
              25 City Council and Mayor.
              26            88.   No action was taken at the July 18, 2018 City Council meeting. The appeal
              27 hearing was continued to the next City Council meeting in order to give City staff
              28 additional time to study the issues raised and report back.
                                                                  17
                                                              COMPLAINT
                    1388656.2
                    Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 18 of 30 Page ID #:18



                1           89.   One of the issues City staff was to report on was the reason for the rule
                2 requiring only new tow carriers to maintain a 65,000 square foot outside storage yard.
                3           90.   On August 1, 2018 the City Council reconvened the appeal hearing.
                4           91.   The City Council voted to deny Pepe's appeal to replace an existing rotation
                5 tow contractor or be chosen as the seventh rotation tow contractor, citing the fact that
                6 Pepe's did not have an outside storage yard of at least 65,000 square feet.
                7           Defendants Have Offered Only Pretextual Bases for the 65,000 Square Foot
                8           Requirement, Never Providing Any Rational Basis
       "'
      ·5
        0
      ,...:)    9           92.   At the July 18, 2018 hearing Pepe's pointed out to the City Council and
       .._;
      C/J
      +
       0
       u
               10 Mayor that the 65,000 square foot outside yard size requirement not only had no rational
       "'
      ·;:;
       ~
      p;..
               11 basis, but had never been applied to the current 6 rotation tow contractors, with no
       §
      C/J
      +        12 adverse results. Four of the six existing rotation tow contractors failed the requirement o
~      "'
       Q)


j 11 13 having 65,000 square feet of outdoor space. For the two that had 65,000 square feet, that
f/1   ~
......
~ 0
       "'
~,...:)
               14 fact had not been a condition in their approval as rotation contract towers.
i:L1 ~
~ {jl
              93. As Pepe's pointed out at the August 1, 2018 hearing, the representative of
 ~ ::fl" 15
gu•~ 16 the Police Department at the hearing conceded that no public safety or welfare issues had
      1
      0
      u
      +
               17 been created by the less-than-65,000 square feet of storage capacity maintained by four o
      §
      0)
       >
               18 the six existing towers. The Police Department representative admitted the City had
       Q)

      iJ
      +
       0
               19 available to it adequate storage space for city tows. The representative conceded there
       ~

      u 20
      :.a  were no reports of any issues regarding tows being turned away from any of the
               21 aforementioned towers due to lack of storage space.
               22           94.   The only justification for the requirement that new rotation tow contractors,
               23 but not the existing rotation tow contractors, maintain 65,000 square foot outside storage
               24 yards that has ever been set forth by the City was offered by the City Manager and the
               25 Police Chief: "The requirement of 65,000 square feet of outside storage space was
               26 negotiated with the tow carriers in Resolution Nos. 201 l-65 and 2016-65. In order to
               27 change this requirement, the City would have to get the consent of each of the existing
               28 tow carriers. This binding contract terminates on April 4, 2021."
                                                                  18
                                                             COMPLAINT
                    1388656.2
                        Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 19 of 30 Page ID #:19



                    1           95.   This contention is patently false and likely pretextual. Review of the
                    2 contracts with existing rotation tow contractors reveals no language that requires rotation
                    3 tow contractors to consent to changes in the Resolutions governing towing in general or
                    4 with regard to towers not a party to the contract. The following language, at paragraph
                    5 3(a) of the contracts, permits the City to modify its Resolutions: "Tow Carrier shall also
                    6 comply with all provisions of the Resolution od the Mayor and Common Council of the
                    7 City of San Bernardino Establishing Standard Criteria for Companies to Provide Tow
                    8 Services for the City of San Bernardino as said Resolution exists and/or as said
         ·s"'0
         ...:i
                    9 Resolution may be amended from time to time." (Emphasis added.)
         ~
         • 10
          0
          u
                                96.   Thus, the City is free to amend its Resolutions, including deleting the 65,000
         ·u"'
         ~
          ....ta   11 square foot outside yard requirement for new rotation tow contractors, and the fact that
          ta
         •"' 12 this freedom is explicitly stated in the applicable resolutions shows the irrational and
         C/l



 ~        OJ

         io 13 pretextual nature of the City's only basis for supporting the requirement.
 -:J
 ....i
 VJ      ~
          "'
         ~ 14                   97.   In reality, the requirement that a new rotation tow contractor maintain a
i:r.:i    i::

 ~
 ~
         I 15
         ~.
                        minimum outdoor storage lot size of 65,000 square feet when the existing rotation tow

~i                 16 contractors do not need to meet this requirement is not rationally related to any legitimate
         1
         0
         u         17 government objective because 65,000 square foot outdoor storage lot is not necessary for
         •
         'O
          ta       18 a tower to discharge its duties under a tow contract with the City of San Bernardino.
         OJ
          >
          OJ
         0
         • 19
          0
                                98.   Since at least 1995, the applicable Resolutions and contracts have always
          ~
         :.su 20 required outdoor storage space sufficient to store 200 vehicles. The City has never
                   21 required its tow contractors to store more than 200 vehicles at a time, and there is
                   22 virtually no prospect that this will change. It is possible to store 200 vehicles on a lot
                   23 much smaller than 65,000 square feet. For example, according to the City's own
                   24 document, City Towing, with an exterior storage yard of 23,492 square feet, meets the
                   25 requirement of outdoor storage space for at least 200 vehicles, as does Wilson Towing
                   26 with an exterior storage yard area of 29,830 square feet.
                   27           99.   The health, safety and welfare of the residents of the city of San Bernardino
                   28 have been adequately served at least since 1995 by requiring that each rotation tow
                                                                     19
                                                                 COMPLAINT
                        1388656.2
                      Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 20 of 30 Page ID #:20



                  1 contractor have facilities sufficient to store 200 vehicles, as provided by Resolution
                  2 No. 95-241.
                  3            100. No one associated in any way with the City, nor any tow contractor, has ever
                  4 articulated a rational basis related to any legitimate governmental objective for the
                  5 requirement that new tow carriers maintain 65,000 square feet of outdoor storage area.
                  6 No formal findings of fact have ever been adopted which articulate the reason for the
                  7 65,000 square foot outside storage requirement. At the City Council hearing on Pepe's
                  8 appeal no City representative or member of the public could provide a reason for the
        -~
         ;:l
         0
        ....:i
                  9 65,000 square foot outside storage yard requirement. The City manager admitted she did
        t5
        •u 10 not know why the requirement was instituted.
         0

       ·u"'
         ~       11            101. Pepe's knows of no other governmental agency, and it is on the tow
        eL<
         §
  •"' 12 rotations of many, that requires its rotation tow contractors to maintain outdoor storage
        r/J



~
         Q)


~ in 13  facilities even approaching 65,000 square feet in size.
C/)     ~
>-<
,__:i "'0
,__:i ....:i     14            102. In 2011, the City dropped the requirement that a purchaser of one of the
~~
~~
                 15 existing rotation tow contractors would need to meet the 65,000 square foot requirement
~~
u•
g~ 16                 in order to be allowed to assume the existing rotation tow contract. Had there truly been
 1      0
        u        17 a need to increase the amount of vehicle storage by the towers, the City would have
        •
        ""§
        0        18 retained this requirement that buyers of existing rotation tow contractors have 65,000
         !,
        0
         • 19 square foot outdoor yards in order to assume the existing contracts.
         0
          gjl
        :au 20      103. In deliberately ignoring the evidence Pepe's presented of the existing
                 21 rotation tow contractors' noncompliance, accepting the Police Department's previous
                 22 assertions that all then-current rotation tow contractors fully complied with all their
                 23 contractual requirements, and in rejecting Pepe's challenge that the 65,000 square foot
                 24 outside yard requirement lacked any rational basis, the City Council denied equal
                 25 protection and free speech protection to Pepe's. The City's apparent determination to
                 26 deny Pepe's a position on the tow rotation at any cost is retaliatory conduct, payback for
                 27 Pepe's embarrassing the City by pointing out all the ways in which the existing rotation
                 28 tow contractors have violated the terms of their contracts for years with impunity. All the
                                                                   20
                                                                COMPLAINT
                       1388656.2
                   Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 21 of 30 Page ID #:21



               1 previous conduct of City employees contributed to this denial, and the previous acts were
               2 denials on their own, but this was the final denial, the final conspiratorial act of all
               3 Defendants.
               4                                            First Claim
               5    Violation of Equal Protection under Fourteenth Amendment, U.S. Constitution; 42
               6                   U.S.C. § 1983; and Article l, § 7, California Constitution
               7                                      Against All Defendants
               8           104. Plaintiff incorporates paragraphs 1 to 103 by reference as if fully set forth
       ·§....:i 9 herein .
       ci'5
       • 10
        0
        {.)
                           105. Defendants' denial of Pepe's application to become the seventh tower in the
       ·n"'
        B 11 rotation because it did not have a 65,000 square foot outdoor yard was an action in which
       µ.,
        §

       • 12 Defendants intentionally and without rational basis, treated Plaintiff differently from
       [/)


p... ,'l
~.;
~             13 others similarly situated, the six existing rotation tow contractors. Pepe's had a right to
-
r;/1   ~
        bo

        "'
~ ~ 14 have its application weighed fairly, on an equal basis with existing rotation tow
~~
~ ~           15 contractors, and without inclusion of requirements that had no rational basis and did not
u.
~ ~           16 apply equally to existing rotation tow contracts and candidates to join the rotation.
E-s ]
       8 17                106.   Defendants applied the 65,000 square foot outside yard size requirement to
       •
       ] 18 Plaintiff, but has never applied the 65,000 square foot requirement to the six existing
       1
       ~ 19 rotation tow contractors, without any legitimate basis for differentiating between Pepe's
        ~
       a20         and the six existing rotation tow contractors.
              21           107. Plaintiff and the six rotation tow contractors are, in all relevant respects,
              22 similarly situated.
              23           108. Defendants purportedly acted under color of law pursuant to the City of San
              24 Bernardino Municipal Code and the City of San Bernardino Charter, Resolution Nos.
              25 2018-65, 2016-73, 2011-91, 2011-80, and 2005-286, as well as other City Council
              26 Resolutions and the contracts based on those Resolutions.
              27           109. Defendants' actions intentionally violated clearly established constitutional
              28 rights of which a reasonable person would have known.
                                                                  21
                                                              COMPLAINT
                   1388656.2
                    Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 22 of 30 Page ID #:22



                1            110. This denial of equal protection, by means of enforcing disparate treatment
                2 requiring 65,000 square feet of outdoor storage yard space on Pepe's but not enforcing
                3 the same requirements against the six existing rotation tow contractors, was the official
                4 policy of the City of San Bernardino, intentionally carried out and/or ratified by
                5 individual Defendants including Police Captain Paul Williams, Police Chief Jarrod
                6 Burguan, Chief Deputy City Attorney Jolena Grider, City Attorney Gary Saenz, City

                7 Manager Andrea Miller, former City Manager Mark Scott, Mayor R. Carey Davis, and
                8 the City Council member Defendants Marquez, Barrio, Valdivia, Shorett, Richard, and
      .;!l
       g
      ....:i
                9 Mulvihill.
      ~
       • 1O                  111. These Defendants' acts and ratification decisions were conscious and
       8
       "'
      ·~µ.. 11 deliberate choices to follow courses of action from among various alternatives. These.
       §
      ~        12 acts and ratification decisions were made intentionally with the lmowledge that
i:i.. :,';
:3 ii~
if1
               13 enforcement of the 65,000 square foot outside yard requirement on Pepe's but not on the
>-<    "'
~ ~ 14 six existing rotation tow contractors violated Pepe's right to equal protection under the
~ ~                 1aw.
~ ~ 15
8i             16            112. As a result of Defendants' actions, Plaintiff suffered monetary damages, loss
E-;   1
      8 17 of business, loss of employment, and additional damage according to proof.
      •
      "Cl

      ~        18            113. Defendants' actions were motivated by evil motive or intent, and/or involved
      t
      '; 19 reckless or callous indifference to Plaintiffs federally protected rights.
       ~
      :.su 20                                               Second Claim
               21     Violation of Protection of Free Speech under First Amendment, U.S. Constitution;
               22                  42 U.S.C. § 1983; and Article 1, § 2, California Constitution
               23                                      Against All Defendants
               24            114. Plaintiff incorporates paragraphs 1 to 113 by reference as if fully set forth
               25 herein.
               26            115. Defendants purportedly acted under color of law pursuant to the City of San
               27 Bernardino Municipal Code and the City of San Bernardino Charter, Resolution Nos.
               28 2018-65, 2016-73, 2011-91, 2011-80, and 2005-286, as well as other City Council
                                                                   22
                                                               COMPLAINT
                     1388656.2
                    Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 23 of 30 Page ID #:23



                1 Resolutions and the contracts based on those Resolutions. The City's practices with
                2 respect to retaliation against Pepe's for its exercise of free speech amounted to an official
                3 policy.
                4           116. Plaintiff presented information to the City of San Bernardino on multiple
                5 occasions documenting the fact that the six existing towers were not in compliance with
                6 the terms of their contracts with the City.
                7           117. Plaintiff presented this information because Plaintiff reasonably believed
                8 that if existing towers had violated their contracts, the City would void the contracts and
         ]      9 open the contract tow rotation list up for application by additional tow contractors.
         ~
         u
               10 Plaintiff knew that Pepe's met all the requirements for a towing contract, as specified
         V,



         ·1
         µ..
               11 under Resolution 2005-286 as amended. Pepe's knew that none of the six existing towers

i:i..
         q12
         ~
                    met the requirements for perimeter security, lighting, and impenetrable pavement.
~Q
~        on    13           118. Despite Pepe's presentation of incontrovertible photographic evidence of the
1/J
......
         ~
         V,
....:i 0
....:i"'"      14 lack of compliance by the six existing contractors to City officials, the Police Department
~~
~~
ea~ 15              professed that it had conducted inspections and that all six of the yards complied with all
§5 .i          16 contractual requirements. The Police Department denied Pepe's request to declare the
E-;      §
         8 17 existing towers in breach of their contracts .
         •
         'O

         ~     18           119. When Pepe's presented this information to the City, it was exercising its
         ~

         ~ 19 constitutionally protected freedom of speech and expression.
         ~
         :au 20             120. Defendants retaliated against Plaintiff for exercising its protected right to
               21 free speech and expression, which it exercised in publicizing the fact that Defendants had
               22 long known that the six rotation tow contractors were not complaint with their contracts
               23 in many material respects including failing to meet the security requirements and
               24 violating the city, state, and federal environmental laws and regulations by failing to park
               25 the stored vehicles on impermeable surfaces. This retaliation came in the form of the
               26 City's denial of Plaintiffs application to fill the new rotation tow contractor provision by
               27 applying a different standard to Plaintiff than it applies to the existing rotation tow
               28 contractors, the requirement of an outside yard of at least 65,000 square feet. Plaintiffs
                                                                  23
                                                              COMPLAINT
                    1388656.2
                       Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 24 of 30 Page ID #:24



                   1 protected speech was a substantial or motivating factor in Defendants' actions taken
                   2 against Plaintiff as alleged herein.
                   3           121. This retaliatory denial of free speech protection, by means of refusing to
                   4 diligently inspect the six existing rotation contract towers for contractual compliance,
                   5 which had the effect of denying Pepe's the opportunity to fairly compete for these
                   6 contracts, and by means of requiring 65,000 square feet of outdoor storage yard space on
                   7 Pepe's but not enforcing the same requirements against the six existing rotation tow
                   8 contractors, was the official policy of the City of San Bernardino, intentionally carried
         ·80
         .....i
                   9 out and/or ratified by individual Defendants including Police Captain Paul Williams,
         ~
         • 10 Police Chief Jarrod Burguan, Chief Deputy City Attorney Jolena Grider, City Attorney
          0
         .~u
          §
          ....
         r...
                  11 Gary Saenz, City Manager Andrea Miller, former City Manager Mark Scott, Mayor R.
          §
         •"' 12 Carey Davis, and the City Council member Defendants Marquez, Barrio, Valdivia,
         Cl)




~
          <t)
         "Q;
                  13 Shorett, Richard, and Mulvihill.
-
....:i    bD
VJ       ~
....:i "'0
....:i .....i     14           122. These Defendants' acts and ratification decisions were conscious and
~b
~~
                  15 deliberate choices to follow courses of action from among various alternatives. These
~~
u.
g;                16 acts and ratification decisions were made intentionally with the knowledge that
         ]
         u
          0
                  17 enforcement of the 65,000 square foot outside yard requirement on Pepe's but not on the
         •
         'O
          §
         "Q;      18 six existing rotation tow contractors constituted retaliation for Pepe's exercise of its
          ~
         u
         • 19 protected free speech rights under the law. It should have been obvious to Defendants
          0
          gjl
         ] 20 that the City's official policy was likely to result in a deprivation of Pepe's right to
         u

                  21 protected free speech.
                  22           123. Defendants' retaliatory actions would chill or silence a person of ordinary
                  23 firmness from future First Amendment activities.
                  24           124. The City and individual Defendants, individually and acting in their official
                  25 capacities, deprived Plaintiff of its rights. Defendants' actions inflicting injury are based
                  26 on either an explicitly adopted or tacitly authorized City policy.
                  27           125. Defendants' actions violated clearly established constitutional rights of
                  28 which a reasonable person would have known.
                                                                    24
                                                                COMPLAINT
                       1388656.2
                 Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 25 of 30 Page ID #:25



             1           126. As a result of Defendants' actions, Plaintiff suffered monetary damages, loss
             2 of business, loss of employment, and additional damage according to proof.
             3           127. Defendants' actions were motivated by evil motive or intent, and/or involved
             4 reckless or callous indifference to Plaintiff's federally protected rights.
             5                                           Third Claim
             6                                 Violation of 42 U.S.C. § 1985(3)
             7                               Against All Individual Defendants
             8           128. Plaintiff incorporates paragraphs 1 to 127 by reference as if fully set forth
      ]      9 herein.
      <15
      •8 10              129. The Individual Defendants purportedly acted under color of law pursuant to
       "'
      ·~ 11 the City of San Bernardino Municipal Code and the City of San Bernardino Charter,
      µ..
       §
      ~     12 Resolution Nos. 2018-65, 2016-73, 2011-91, 2011-80, and 2005-286, as well as other
 i:i.. "'
· ~~~i      13 City Council Resolutions and the contracts based on those Resolutions.
 -
 ~ ~ 14
       "'
                         130. Defendants, acting individually and in their official capacities, intentionally
 ~    J15        conspired to deprive Plaintiff of its statutory and constitutional rights as alleged herein.
 8i         16 Each Defendant either knew of the other Defendants' plan to deprive Plaintiff of its
 ~1
      8 17 statutory or constitutional rights as alleged herein, agreed to participate in that
      •
      'rj

      ~     18 conspiracy, or shared in the common objective of that conspiracy.
       ~

      ~ 19               131. Defendants' acts were in furtherance of the conspiracy, and Defendants'
       ~
      e20        invidiously discriminatory animus was behind Defendants' actions.
            21           132. The individual Defendants who carried out this conspiracy were Police
            22 Captain Paul Williams, Police Chief Jarrod Burguan, Chief Deputy City Attorney Jolena
            23 Grider, City Attorney Gary Saenz, City Manager Andrea Miller, former City Manager
            24 Mark Scott, Mayor R. Carey Davis, and the City Council member Defendants Marquez,
            25 Barrio, Valdivia, Shorett, Richard, and Mulvihill.
            26           133. The conspiracy was aimed at interfering with Plaintiff's protected rights
            27 such as the right to equal protection and free speech.
            28           134. Defendants' acts were taken under the color of state law.
                                                               25
                                                           COMPLAINT
                 1388656.2
                  Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 26 of 30 Page ID #:26



              1           135. Defendants' actions violated clearly established statutory or constitutional
              2 rights of which a reasonable person would have known.
              3           136. As a result of Defendants' actions, Plaintiff suffered monetary damages, loss
              4 of business, loss of employment, and additional damage according to proof.
              5           137. Defendants' actions were motivated by evil motive or intent, and/or involved
              6 the reckless or callous indifference to Plaintiff's federally protected rights.
              7                                           Fourth Claim
              8                                   Violation of 42 U.S.C. § 1986
                                               Against All Individual Defendants
      .._J
      <ZJ

      ~<.)
             10           13 8. Plaintiff incorporates paragraphs 1 to 13 7 by reference as if fully set forth
      ·u"'
      l      11 herein.
       §
      ~      12           13 9. Defendants purportedly acted under color of law pursuant to the City of San
/l;    i';
~     Q)
~      bO    13 Bernardino Municipal Code and the City of San Bernardino Charter, Resolution Nos.
ifJ   ~
>-< "'
:j ~ 14 2018-65, 2016-73, 2011-91, 2011-80, and 2005-286, as well as other City Council
~      =
~ ~ 15 Resolutions and the contracts based on those Resolutions.
~~
8i           16           140. Defendants, by being presented with information by Plaintiff, hearing or
~1
      8 17 participating in meetings with other Defendants, and being privy to other information
      •
      'O

      ~ 18 about Defendants' actions and contemplated actions involving Plaintiff, had knowledge
       t
      ~ 19 that some or all of the wrongs conspired to be done were about to be committed, and had
       ~
      @20 the power to prevent or aid in preventing the commission of those acts, but neglected or
             21 refused to do so.
             22           141. The individuals who engaged in this wrongful conduct were Police Captain
             23 Paul Williams, Police Chief Jarrod Burguan, Chief Deputy City Attorney Jolena Grider,
             24 City Attorney Gary Saenz, City Manager Andrea Miller, former City Manager Mark
             25 Scott, Mayor R. Carer Davis, and the City Council member Defendants Marquez, Barrio,
             26 Valdivia, Shorett, Richard, and Mulvihill. These Defendants acted individually and in
             27 their official capacities.
             28
                                                                 26
                                                             COMPLAINT
                  1388656.2
                  Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 27 of 30 Page ID #:27



              1           142. Defendants' actions violated clearly established statutory or constitutional
              2 rights of which a reasonable person would have known, as alleged herein.
              3           143. As a result of Defendants' actions and failure to act despite having the power
              4 to do so, Plaintiff suffered monetary damages, loss of business, loss of employment, and
              5 additional damage according to proof.
              6           144. Defendants' actions were motivated by evil motive or intent, and/or involve
              7 the reckless or callous indifference to Plaintiffs federally protected rights.
              8                                     PRAYER FOR RELIEF
      -~
       g
      ..-l
              9           WHEREFORE, Plaintiff Pepe's Towing ("Plaintiff') prays for relief and judgment
      ti
      • 1O against Defendants City of San Bernardino ("City") and the individual Defendants in
       ~
      ·i
      ~
             11 their personal capacities as follows:
       §
      ~      12                                  FIRST CLAIM FOR RELIEF
p.,    ~

~     "      13           1.     For a declaratory judgment declaring that all contracts currently in effect
-
~ on
VJ~
       "'
~ ~ 14 between the City of San Bernardino and towing contractors and the operative Resolutions
~
~     J1s
       <::

                  governing those contracts, on their face and as applied by Defendants, are unlawful, void,
8i           16 and unenforceable because they violate the Equal Protection Clause;
~i                               A permanent injunction or temporary injunction/restraining order prohibiting
      8 17                2.
                  Defendants from enforcing or attempting to enforce the contracts and operative
                  Resolutions;
                          3.     For an order that the City of San Bernardino shall design a process by which
             21 it will request proposals from all towing companies interested in contracting with the City
             22 to be part of its towing rotation, and that it shall implement the process in a manner that
             23 evaluates the capabilities, facilities, equipment, and personnel of the six towers currently
             24 contracted with the City using the same criteria by which it evaluates new towers, with no
             25 credit of any kind given to the fact that these six towers have an established relationship
             26 with the City.
             27           4.     For general and special damages according to proof;
             28
                                                                 27
                                                             COMPLAINT
                  1388656.2
                  Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 28 of 30 Page ID #:28



              1           5.   For punitive damages against the individual Defendants in their personal
              2 capacities;
              3           6.   For an award of attorneys' fees under 42 U.S.C. § 1998, Cal. Code of Civil
              4 Procedure§ 1021.5, and/or any other applicable provision of law;
              5           7.   Costs, interest, and such other and further appropriate relief that the Court
              6 deems just and proper.
              7                               SECOND CLAIM FOR RELIEF
              8           1.   A declaratory judgment declaring that all contracts currently in effect
       ]      9 between the City of San Bernardino and towing contractors and the operative Resolutions
       v.;
       • 1O governing those contracts, on their face and as applied by Defendants, are unlawful, void,
       ~
       ·§
       µ,
             11 and unenforceable because they violate the Equal Protection Clause;
       §
       ~     12           2.   A permanent injunction or temporary injunction/restraining order prohibiting
A...   "'
~~
~            13 Defendants from enforcing or attempting to enforce the contracts and operative
-
[/).


j
~~
       bn
       ~
       "'
       3 14 Resolutions;
~~
~ ~ 15           3.    An order that the City of San Bernardino shall design a process by which it
u•
:::i ~ 16 will request proposals from all towing companies interested in contracting with the City
E-s    1
       8 17 to be part of its towing rotation, and that it shall implement the process in a manner that
       •
       } 18 evaluates the capabilities, facilities, equipment, and personnel of the six towers currently
       t
       ~ 19 contracted with the City using the same criteria by which it evaluates new towers, with no
       ~
       a20        credit of any kind given to the fact that these six towers have an established relationship
             21 with the City.
             22           4.   General and special damages according to proof;
             23           5.   Punitive damages against the individual Defendants in their personal
             24 capacities;
             25           6.   An award of attorneys' fees under 42 U.S.C. § 1998, Cal. Code of Civil
             26 Procedure§ 1021.5, and/or any other applicable provision of law;
             27           7.   Costs, interest, and such other and further appropriate relief that the Court
             28 deems just and proper.
                                                               28
                                                           COMPLAINT
                  1388656.2
              Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 29 of 30 Page ID #:29



          1                                THIRD CLAIM FOR RELIEF
          2           1.   General and special damages according to proof;
          3           2.   Punitive damages against the individual Defendants in their personal
          4 capacities;
          5           3.   An award of attorneys' fees under 42 U.S.C. § 1998, Cal. Code of Civil
          6 Procedure§ 1021.5, and/or any other applicable provision of law;
          7           4.   Costs, interest, and such other and further appropriate relief that the Court
          8 deems just and proper.
-~
 g
....:i
          9                              FOURTH CLAIM FOR RELIEF
t5
• 1O                  1.   General and special damages according to proof;
 8
 "'
-~ 11                 2.   Punitive damages against the individual Defendants in their personal
>'-<
 §
~        12 capacities;
                      3.   An award of attorneys' fees under 42 U.S.C. § 1998, Cal. Code of Civil
              Procedure§ 1021.5, and/or any other applicable provision of law;
                      4.   Costs, interest, and such other and further appropriate relief that the Court
              deems just and proper.




                                                           Tucker Ellis LLP


         21                                                By:      I sf William H. Dance
         22                                                        Carmen A. Trutanich
                                                                   carmen. trutanich@tuckerellis.com
         23                                                        William H. Dance
                                                                   william. dance(a),tuckerellis. com
         24                                                        Attm;rn:ys for Plaintiff
                                                                   PEPE'S, INC., a California
         25                                                        corp9ration dba Pepe's Towing
                                                                   Service
         26
         27
         28
                                                           29
                                                       COMPLAINT
              1388656.2
                     Case 5:18-cv-02277-DDP-SP Document 1 Filed 10/24/18 Page 30 of 30 Page ID #:30



                 1                                 DEMAND FOR JURY TRIAL
                 2           In accordance with Local Rule 38-1, Plaintiff Pepe's, Inc. demands a trial by jury
                 3 on all claims for which a jury trial is provided under law.
                 4
                 5 DATED: October 24, 2018                         Tucker Ellis LLP
                 6
                 7                                                 By:     Is/ William H. Dance
                 8                                                        Carmen A. Trutanich
                                                                          carmen.trutanich@tuckerellis.com
       ·s"'0                                                              William H. Dance
       ....:i
                 9
       u'5                                                                william.dance~tuckerellis.cpm
       • 10
        0
                                                                          Attomexs for aintiff PEPE'S,
        (.)

       ·u"'                                                               INC., a California corporation dba
        ~
       µ..
                11                                                        Pepe's Towing Service
        §
       ~        12
:3,-.l in"' 13
        <!)




-
r:/]
     "'
       ~
:::3 3 14
~~
~ ::'ia         15
g]      §
                16
       8 17
       •
       'O

       ~ 18
        t
       ~ 19
        0
        ~
        (.)

       :E
       u        20
                21
                22
                23
                24
                25
                26
                27
                28
                                                                  30
                                                              COMPLAINT
                     1388656.2
